 

Case 2:21-cv-00163-Z Document 71 Filed 11/22/22 Page1of2 PagelD 1282

ESEISTRICUCOURT.

IN THE UNITED STATES DISTRICT court! SURTES EEE FOUTS
FOR THE NORTHERN DISTRICT OF TEXAS lr" sh

AMARILLO DIVISION I NOV 22 202? |

CLERK EES Pao ypere Yer
SUSAN NEESE, et al., o MOVER]

Plaintiffs,

v. 2:21-CV-163-Z
XAVIER BECERRA, in his official
capacity as the Secretary of the United
States Department of Health and Human
Services, et al.,

Cr (QR? Gr OR “OR (OP? (OP? CO? CO? “OD ON? LO?

Defendants.
FINAL JUDGMENT
On November 11, 2022, the Court issued an Opinion and Order (ECF No. 66)
GRANTING IN PART Plaintiffs’ Motion for Summary Judgment and GRANTING IN PART
Defendants’ Motion for Summary Judgment. The Court issues the following relief consistent with
that Opinion and Order.

1. The Court awards Plaintiffs and the certified class relief under 5 U.S.C. § 706(2).
The Court HOLDS UNLAWFUL and SETS ASIDE Defendant Becerra’s
Notification of Interpretation and Enforcement of May 10, 2021.

2. The Court awards Plaintiffs and the certified class declaratory relief under 28 U.S.C.
§ 2201. The Court DECLARES:

= Plaintiffs and members of the certified class need not comply with the interpretation
of “sex” discrimination adopted by Defendant Becerra in his Notification of
Interpretation and Enforcement of May 10, 2021; and

" Section 1557 of the ACA does not prohibit discrimination on account of sexual
orientation and gender identity, and the interpretation of “sex” discrimination that
the Supreme Court of the United States adopted in Bostock v. Clayton County,
140 S. Ct. 1731 (2020), is inapplicable to the prohibitions on “sex” discrimination
in Title IX of the Education Amendments of 1972 and in Section 1557 of the ACA.

3. The Court GRANTS summary judgment for Defendants insofar as Plaintiffs and the
certified class seek injunctive relief on any claim.

 

  
 
 
Case 2:21-cv-00163-Z Document 71 Filed 11/22/22 Page 2of2 PagelD 1283

This final judgment fully and finally resolves all remaining claims in this suit and is
appealable. The Court DENIES all other relief not expressly granted herein.

Judgment is rendered accordingly.

November 2% 2022 AAA quay

THEW J. KACSMARYK
ITED STATES DISTRICT JUDGE

 
